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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________

     REPLY TO GOVERNMENT’S RESPONSE TO STONE’S MOTION TO COMPEL
        DISCLOSURE OF REDACTED PORTIONS OF THE MUELER REPORT

A.     The April 30, 2019 Court Colloquy

       At the status conference on April 30, 2019, the Court said, speaking of the Mueller Report:

               THE COURT:              I think it’s fair to say that some portions that
               relate to this defendant in particular are redacted from public view
               for largely appropriate reasons. But has the government provided or
               does it intend to provide that portion of the report? I’m not talking
               about the entire report but the section that deals with Mr. Stone that
               was redacted.

               MR. KRAVIS:            Your Honor, the government does not intend
               to provide that portion of the report to counsel for Mr. Stone, absent
               an order to do so.

Transcript of April 30, 2019 Status Conference at 5, United States v. Stone, 1:19-CR-00018-ABJ

(No. 92). The government’s position is that it has complied, or is complying, with its discovery

obligations under Fed. R. Crim. P. 16, Brady v. Maryland, 373 U.S. 83 (1963), Jencks v. United

States, 353 U.S. 657 (1957), and Giglio v United States, 405 U.S. 150 (1972). “I expect that

process will be substantially completed in the next – the next four to six weeks. But the Rule 16

discovery is complete.” Transcript at 4.
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       The government continued:

               Because we are doing that, because we’re providing the material
               itself, as we would in any criminal case, the government’s position
               is we’re not obligated to produce to the defendant redacted versions
               of a report that discusses or analyzes that material.

Id. at 7. The Court, following similar comments by the government, responded:

               THE COURT:              Well, ordinarily not, but we’re in a situation
               where 500 pages of analysis has been made public. We’re in a
               situation where we have Special Counsel who did report and analyze
               and think, and its public, largely. So is there a different standard that
               applies once that door is open?

Id. at 8. The government does not “think there is a different standard.” Ibid.

       The Defendant does. The Court, on May 10, 2019, by Minute Order, ordered the

government “to submit” unredacted versions of those portions of the report that relate to defendant

Stone and/or “the dissemination of hacked materials,” including, but not limited to, pages 41-65

of Volume 1 of the Report, to the Court for in-camera review by Mary 13, 2019. . .”

       The government complied. Doc. 106. While the in-camera/ ex-parte inquiry is a step

forward, we await word from the Court as to whether or not the Defendant will have access to the

materials. That access is necessary for several reasons.

       First, this is not an ordinary situation. A public report has been prepared, replete with

redactions which clearly relate to Roger Stone. Judge Learned Hand wrote, and the Supreme Court

quoted approvingly, this axiom:

               While we must accept it as lawful for a department of the
               government to suppress documents, even when they will help
               determine controversies between third persons, we cannot agree that
               this should include their suppression in a criminal prosecution,
               founded upon those very dealings to which the documents relate,
               and whose criminality they will, or may, tend to exculpate. So far as
               they directly touch the criminal dealings, the prosecution necessarily
               ends any confidential character the documents may possess; it must
               be conducted in the open, and will lay bare their subject matter. The

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               government must choose; either it must leave the transactions in the
               obscurity from which a trial will draw them, or it must expose them
               fully. Nor does it seem to us possible to draw any line between
               documents whose contents bears directly upon the criminal
               transactions, and those which may be only indirectly relevant. Not
               only would such a distinction be extremely difficult to apply in
               practice, but the same reasons which forbid suppression in one case
               forbid it in the other, though not, perhaps, quite so imperatively . . .

Jencks, 353 U.S. 672 (quoting United States v. Andolschek, 142 F.2d 503, 506 (2d Cir. 1944)).

And we note Justice Breyer’s comments in United States v. Armstrong, 517 U.S. 456, (1996)

(Breyer, J. concurring in part and concurring in judgment) relating to broad discovery for criminal

defendants under Fed. R. Crim. P. 16: “[r]ather, the language and legislative history make clear

that the Rule’s drafters meant it to provide a broad authorization for defendants’ discovery, to be

supplemented if necessary, in an appropriate case.” This is such a case.

       The redacted portions of the Special Counsel’s Report claim secrecy/privilege for “harm

to ongoing matters” and assert exceptions under the Freedom of Information Act (FOIA), claiming

they may contain, inter alia:

               Exemption 7(A) – records or information compiled for law enforcement purposes,
               the release of which could reasonably be expected to interfere with enforcement
               proceedings;
               Exemption 7(B) – records or information compiled for law enforcement purposes,
               the release of which would deprive a person of a right to a fair trial or impartial
               adjudication;
               Exemption 7(C) – records or information compiled for law enforcement purposes,
               the release of which could reasonably be expected to constitute an unwarranted
               invasion of personal privacy;
               Exemption 7(E) – records or information compiled for law enforcement purposes,
               the release of which would disclose techniques or procedures for law enforcement
               investigations or prosecutions.

See 5 U.S.C. §§ 552(b)(7)(A), (B), (C), and (E). The “ongoing matter” upon which harm may be

inflicted is Roger Stone’s right to a fair trial. What does “reasonably be expected” mean in the

context of this unusual case of a printed report? That the “government is complying with its


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discovery obligations in this case” (Doc. 94 at 8), is not sufficient because this criminal prosecution

is annotated in the Report and that is unique. It is the outgrowth of a specially commissioned

investigation into “Russian interference with the 2016 presidential election and related matters,” 1

an investigation which resulted in a focus on Roger Stone. That Report, which concluded that

neither Roger Stone, nor any other American, was guilty of any criminal conduct vis-a-vis Russian

interference, collusion with Russia, or disloyalty to the country, or to the President, has a special

focus on Stone.

       Roger Stone is in the dock based on an allegation which is extensively discussed in the

Special Counsel’s Report. Stone is entitled to disclosure of the redacted sections in the Report.

Judge Hand’s admonition that “the prosecution necessarily ends any confidential character the

document may possess…and will lay bare their subject matter” is relevant here. Andolschek, 142

F.2d at 506.

       The Department of Justice Manual, Section 9-5.000 2 recognizes that Brady and Giglio

discovery is not always enough, and the government has acknowledged that it has not yet even

completed that constitutionally required task. Section 9-5.001 provides for “[d]iscovery of

exculpatory and impeachment information beyond that which is constitutionally and legally

required.”

               Department policy recognizes that a fair trial will often include examination of
               relevant exculpatory or impeachment information that is significantly probative of
               the issues before the court but that may not, on its own, result in an acquittal or, as
               is often colloquially expressed, make the difference between guilt and innocence.
               As a result, this policy requires disclosure by prosecutors of information beyond


       1
         Office of the Deputy Att’y Gen., Order No. 3915-2017, Appointment of Special Counsel
to Investigate Russian Interference with the 2016 Presidential Election and Related Matters, May
17, 2017, available at https://www.justice.gove/opa/press-release/file/967231/download.
       2
          U.S. Dep’t of Justice, U.S. Attorneys’ Manual § 9.5001 (2018), available at
https://www.justice.gov/jm/jm-9-5000-issues-related-trials-and-other-court-proceedings.
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               that which is “material” to guilt as articulated in Kyles v. Whitley, 514 U.S. 419
               (1995), and Strickler v. Greene, 527 U.S. 263, 280-81 (1999).

See Attorneys’ Manual § 9.5001(C). Section C, parts 1 and 2 of the Attorneys’ Manual, provide

some guidance:


               1. Additional exculpatory information that must be disclosed. A prosecutor
                  must disclose information that is inconsistent with any element of any crime
                  charged…or that establishes a recognized affirmative defense…
               2. Additional impeachment information that must be disclosed. A prosecutor
                  must disclose information that either casts a substantial doubt upon the accuracy
                  of any evidence – including but not limited to witness testimony…regardless of
                  whether it is likely to make the difference between conviction and acquittal of
                  the defendant…

       The 9-5.001 Disclosure Policy promises are especially relevant here - a Special Counsel

Report that the government says “discusses or analyzes” the materials it is obligated to provide to

Roger Stone. See Transcript of April 30, 2019 Status Conference at 7. An in-camera inspection

does not suffice. The defendant’s right to a fair trial requires that he has access to that which the

Special Counsel has now reported about him, and his case, and prosecution, so he and his counsel

can determine whether any of that information may assist in his defense, in any way.

                                             CONCLUSION

       The government’s unredacted submissions to this Court should be shared with counsel for

Roger Stone. Only then can a principled decision be made as to whether or not those materials,

and perhaps more, are necessary to the fair administration of justice in this case.

                                                 Respectfully submitted,

                                                 By: /s/_______________


                                                     BRUCE S. ROGOW
 L. PETER FARKAS                                     FL Bar No.: 067999
 HALLORAN FARKAS + KITTILA, LLP                      TARA A. CAMPION
 DDC Bar No.: 99673                                  FL Bar: 90944
 1101 30th Street, NW                                BRUCE S. ROGOW, P.A.

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Suite 500                                 100 N.E. Third Avenue, Ste. 1000
Washington, DC 20007                      Fort Lauderdale, FL 33301
Telephone: (202) 559-1700                 Telephone: (954) 767-8909
Fax: (302) 257-2019                       Fax: (954) 764-1530
pf@hfk.law                                brogow@rogowlaw.com
                                          tcampion@rogowlaw.com
                                                      Admitted pro hac vice

ROBERT C. BUSCHEL                         GRANT J. SMITH
BUSCHEL GIBBONS, P.A.                     STRATEGYSMITH, PA
D.D.C. Bar No. FL0039                     D.D.C. Bar No.: FL0036
One Financial Plaza, Suite 1300           FL Bar No.: 935212
100 S.E. Third Avenue                     401 East Las Olas Boulevard
Fort Lauderdale, FL 33394                 Suite 130-120
Telephone: (954) 530-5301                 Fort Lauderdale, FL 33301
Fax: (954) 320-6932                       Telephone: (954) 328-9064
Buschel@BGlaw-pa.com                      gsmith@strategysmith.com

CHANDLER P. ROUTMAN
D.D.C. Bar No. 1618092
501 East Las Olas Blvd., Suite 331
Fort Lauderdale, FL 33301
Tele: (954) 235-8259
routmanc@gmail.com




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 21, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.


                                               ___/s/ Chandler Routman _______________
                                                      Chandler P. Routman

     United States Attorney’s Office for the
             District of Columbia

 Jessie K. Liu
 United States Attorney
 Jonathan Kravis
 Michael J. Marando
 Assistant United States Attorneys
 Adam C. Jed
 Aaron S.J. Zalinsky
 Special Assistant United States Attorneys
 555 Fourth Street, NW
 Washington, DC 20530
 Telephone: (202) 252-6886
 Fax: (202) 651-3393




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